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RE: In Re: New York City Policing During Summer 2020 Demonstrations (20-cv-8924) - 30(b)(6) Deposition Scheduling

Prakash, Swati <Swati.Prakash@ag.ny.gov>
Thu 8/12/2021 11:49 AM

To: Weiss, Dara (Law) <daweiss@law.nyc.gov>; Jacobs, Elissa (Law) <ejacobs@law.nyc.gov>; Goykadosh, Brachah (Law) <bgoykado@law.nyc.gov>; Lax, Joshua (Law)
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Q 2 attachments (431 KB)
2021-07-02 30(b)(6) Notice, Category 1 Documents & Policies.pdf; Deposition notices;

Counsel:
| write to follow up on my email of last Friday. Plaintiffs request to meet and confer about (1) the City’s failure to identify any alternative dates for the

depositions of its 30(b)(6) designees on Topics 1 through 7 of Plaintiffs’ first Notice of 30(b)(6) Deposition, served on July 2, 2021, ( re-attached here for
your convenience), and (2) the timeline for the depositions of the remaining fact witnesses noticed by Plaintiffs in their revised notice of deposition dated

June 30, 2021, and whose depositions were not included in Judge Gorenstein’s order of July 20, 2021. (The email providing the June 30" notice of
deposition is re-attached here for your convenience).

Please provide your availability to meet and confer on these two matters.

Best regards,

 

Swati R. Prakash | Assistant Attorney General

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From: Prakash, Swati <Swati.Prakash@ag.ny.gov>

Sent: Friday, August 6, 2021 3:54 PM

To: Weiss, Dara (Law) <daweiss@law.nyc.gov>; Jacobs, Elissa (Law) <ejacobs@law.nyc.gov>; Goykadosh, Brachah (Law) <bgoykado@law.nyc.gov>; Lax,
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wood@kllflaw.com; Andrew Stoll <astoll@stollglickman.com>

Subject: In Re: New York City Policing During Summer 2020 Demonstrations (20-cv-8924) - 30(b)(6) Deposition Scheduling

Counsel:

Plaintiffs served a 30(b)(6) notice of deposition on July 2, 2021, with topics focused on the development, retention and storage of documents, policies, and
ESI, and on NYPD and relevant Mayor’s Office organizational structure. While Defendants never formally objected to the notice, during a meet and confer
on July 9, 2021, Plaintiffs agreed to adjourn the noticed date of July 16, 2021, with the understanding that the City would endeavor to produce a deponent
by mid-August.

It has been nearly one month since that representation from the City, and Plaintiffs have still not heard back regarding a schedule for the City’s first 30(b)(6)
witness(es). For each witness designated by the City to testify on any of Topics 1 through 7 of Plaintiffs’ first Notice of 30(b)(6) deposition, please
provide two dates in August when that witness is available to testify. If the City refuses to identify specific dates in this time frame to produce this 30(b)
(6) witness, please advise if it will be seeking a protective order.

As a reminder, Plaintiffs’ first notice of 30(b){6) deposition is intended to develop a better understanding of Defendants’ organizational structure and the
individuals involved in the policies and operations relevant to Plaintiffs’ claims; the completion of this deposition will permit Plaintiffs to streamline its lists
of defensive witnesses and ultimately to identify a discrete number of depositions Plaintiffs expect to take in these consolidated actions, as the City has
been requesting.

Judge Gorenstein ordered Defendants to proceed in August with the depositions of witnesses specified 40 of the 78 witnesses noticed by Plaintiffs on June
29, 2021. The remaining 38 witnesses are NYPD supervisory officers above the rank of “line officers,” and City officials and employees with knowledge of or
input into NYPD and City policy and decisions regarding the subject matter of this litigation. To reflect our previous recognition that the depositions of such
higher-level fact witnesses should, wherever possible, be combined with the depositions of Defendants’ 30(b)(6) designees, Plaintiffs will serve today a
supplemental 30(b)(6) notice of deposition, with Topics 8 through 22 covering a range of substantive issues for which Plaintiffs seek the City’s official
organizational testimony.

Plaintiffs are available to meet and confer to continue our discussions regarding the timeline for taking the deposition of the City’s 30(b)(6) designee(s) on
Topics 1 through 7, and the timing and combination of fact witness and 30(b)(6) designee depositions.

Best regards,

 

Swati R. Prakash | Assistant Attorney General
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